AQ 442 (Rev. 5/93)Ga@aeart Got-GFrba6, J-TJS Document 73 Filed 01 Page 1 of 1

Wnited States District UourRECEIVED

SOUTHERN DISTRICT OF iowa YAN 2 0 2009

CLERK U.S. DISTRICT
DAVENPORT DAVREMDSTACT ORO

 

UNITED STATES OF AMERICA

WARRANT FOR ARREST
V.

CHRISTGPHER JAMES McGEE
CASE NUMBER: 3:07-cr-634

TO: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest__Christopher James McGee

Name

for proceedings in Davenport, lowa, to answer an

fx] Indictment LJ Information LJ Complaint LJ Order of Court LJ Violation Notice LJ Probation Violation Petition

charging him or her with (brief description of offense}

conspiracy to distribute cocaine base and possession with intent to
distribute cocaine base

in violation of Title 18:21 United States Code, Section(s)_ 2; B46, 841(bH IA}, B41 lal()

R. Johnson Deputy Clerk

Name of Issuing Officer Title of Issuing Officer

March 12, 2008, Davenport, lowa

Date and Location

 

by

 

 

Name of Judicial Officer

 

RETURN

 

This warrant was received and executed with the arrest of the above-named defendant at

 

 

 

 

DATE RECEIVED NAME AND TITLE CF ARRESTING OFFICER RRESTING OFFICER
Shzfok “Perey Bumana ‘Dus CC
For

DATE OF ARREST _
ailoel OF Servy Blomgrem Ore Tre
AO 442 (Rev. 5/93) Warrant for Arrest

 

 

 

 

 

 

 
